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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   SKYCAM, LLC, a Delaware limited    )
   liability company,                 )
                                      )
                Plaintiff,            )
                                      )
   vs.                                )                   Case No. 09-cv-294-GKF-FHM
                                      )
   PATRICK J. BENNETT, an individual, )
   and ACTIONCAM, LLC, an Oklahoma )
   Limited Liability Company,         )
                                      )
                Defendants.           )

                               REPORT AND RECOMMENDATION

          Before the undersigned for a report and recommendation is Defendant Bennett’s Motion

   to Recall and to Quash Plaintiff Skycam’s Writ of Execution. (Dkt. 442). Bennett’s motion asks

   the Court to set aside and quash a Writ of Execution requested by plaintiff and issued by the

   Court Clerk. (Dkts. 440, 441). In its Application for Writ, plaintiff requested a writ of execution

   against any intellectual property owned by Bennett. (Dkt. 440). The writ issued by the Court

   Clerk (the “Writ”) directs the United States Marshal to execute on “the goods and chattels, lands

   and tenements in [the United States District Court for the Northern District of Oklahoma]

   belonging to: Patrick J. Bennett.” (Dkt. 441).

          The question presented by Bennett’s motion is whether the Writ may be used against his

   intellectual property. (Dkt. 442 ¶ 6). Bennett argues that it cannot and relies on the general

   Oklahoma levy and execution statute, which does not specifically refer to intellectual property.

   OKLA. STAT. tit. 12, § 733 (referring to “lands, tenements, goods and chattels”). Bennett also

   cites three U.S. Supreme Court cases, one Massachusetts case from the 1800s, and one Virginia

   case from 1949 for the proposition that intellectual property cannot be taken via a levy or writ.
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   Stephens v. Cady, 55 U.S. 528, 531 (1852) (addressing copyrights); Stevens v. Gladding, 58 U.S.

   447, 451 (1854) (addressing federally conferred rights); Ager v. Murray, 105 U.S. 126, 130

   (1881) (addressing patent rights); Carver v. Peck, 131 Mass. 291, 292 (1881) (addressing

   copyrights and patents); Stutzman v. C.A. Nash & Son, Inc., 189 Va. 438, 446, 53 S.E.2d 45, 49

   (1949). Skycam counters that Oklahoma law contains many instances in which it allows property

   that is not specifically identified in Section 733 to be the subject of execution, including

   equitable rights. (Dkt. 449 ¶ 9). Skycam also cites Oklahoma’s “Definitions and General

   Provisions” statute, which defines “personal property” broadly to include “money, goods,

   chattels, things in action and evidence in debt.” OKLA. STAT. tit. 25, § 26.

          Federal Rule of Civil Procedure 69 provides that “[t]he procedure on execution—and in

   proceedings supplementary to and in aid of judgment or execution—must accord with the

   procedure of the state where the court is located, but a federal statute governs to the extent it

   applies.” The parties have cited no federal statute which governs the Writ, and the undersigned

   has not located one. Thus, Oklahoma law determines whether or not Skycam can execute on

   Bennett’s intellectual property.

          Chapter 13 of Title 12 of the Oklahoma Statutes (Sections 731-909) addresses writs of

   execution. In Oklahoma, there are three kinds of executions: (1) against the property of the

   judgment debtor; (2) for the delivery of possession of real or personal property; and (3)

   executions in special cases. Okla. Stat. tit. 12, § 732. Skycam seeks to execute against the

   intellectual property of Bennett, which, if otherwise allowable, falls squarely within number (1).

   Section 733, cited by Bennett, provides that “[l]ands, tenements, goods and chattels, not exempt

   by law shall be subject to the payment of debts, and shall be liable to be taken on execution and

   sold, as hereinafter provided.” Section 841, titled “Property, equitable interests subject to



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   execution,” further provides, “At any time after judgment, any property of the judgment debtor,

   including any equitable interest he may have, unless by law expressly excluded from being

   reached by creditors shall be subject to the payment of such judgment, by action, or as

   hereinafter provided.” OKLA. STAT. tit. 12, § 841. These sections give judgment creditors broad

   rights, allowing execution both on the goods and chattels of a judgment debtor and on “any

   property of the judgment debtor, including any equitable interest.”1 Id. (emphasis added).

          Oklahoma’s statutory definitions, and its case law, confirm these broad rights.

   Specifically, the Oklahoma statutes provide that “[e]very kind of property that is not real is

   personal.” OKLA. STAT. tit. 60, § 9. And, “personal property” includes “money, goods, chattels,

   things in action and evidences of debt.” OKLA. STAT. tit. 25, § 26. Further, the Oklahoma courts

   have made clear that Section 733’s use of “goods and chattels” is not meant to limit the type of

   personal property subject to execution; rather, a judgment creditor has rights against “any

   personal property” of a judgment debtor, including any “. . . goods, chattels, money, notes,

   bonds, stocks and choses in action generally,” along with any equitable interest. First Pryority

   Bank v. Moon, 326 P.3d 528, 539-41 (Okla. Ct. Civ. App. 2013) (quoting Southwestern Bell

   Telephone Co. v. Oklahoma State Bd. of Equalization, 231 P.3d 638, 643 (Okla. 2009)); Indian

   Land & Trust Co. v. Owen, 162 P. 818, 822 (Okla. 1916) (“after an execution is returned nulla

   bona, the judgment creditor may institute an action for the discovery of any money, choses in

   action, equitable or legal interest, and all other property to which the defendant is entitled and for

   subjecting the same to the satisfaction of the judgment.”). Although there does not appear to be

   any Oklahoma authority which specifically addresses the applicability Sections 733 and 841 to




   1
    Bennett does not argue that his intellectual property is “exempt by law” or is “by law expressly
   excluded from being reached by creditors,” and there is no legal authority for such a proposition.
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   intellectual property, these cases seem to make clear that all personal property, including

   intellectual property, is subject to execution under Oklahoma law.

          A further examination of the definition of “intellectual property” confirms this

   conclusion.

          Intellectual property is a form of intangible property. Black’s Law Dictionary, 10th ed.

   2014 (intellectual property is “[a] category of intangible rights protecting commercially valuable

   products of the human intellect. The category comprises primarily trademark, copyright, and

   patent rights . . .”). Intangible property generally lacks a physical presence, although it may be

   represented by some form of documentation, such as a stock certificate. See id. Property such as

   bonds, stocks, notes, and choses in action are all intangible personal property which Oklahoma

   courts have expressly found is subject to a writ of execution. See supra at 3. Bennett cites no

   authority for the proposition that intellectual property should be treated differently than these

   other forms of intangible personal property, and the undersigned is aware of none. To the

   contrary, the structure of the Oklahoma levy and execution statutes and the reasoning of its case

   law indicate that a judgment creditor’s rights against a judgment debtor are broad and extensive

   and are to be broadly construed. See supra at 3-4. Accordingly, the undersigned finds that a

   judgment creditor in Oklahoma has the right to execute on a judgment debtor’s intellectual

   property in an effort to satisfy a judgment.

          As to the cases cited by defendant, they were all decided before the existence of Fed. R.

   Civ. P. 69 and are, therefore, of questionable relevance. Setting that aside, none of the cases

   apply Oklahoma law, and the cases, to the extent they indicate an inability to execute on

   intellectual property, are no longer in accord with the weight of authority and have not been for

   some time. Moreover, at least one of the cases cited by Bennett does not support his view. See



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   Ager v. Murray, 105 U.S. 126, 130 (1881) (directing that patents be sold and applied to a

   judgment against a debtor). Put simply, during the past century the law has moved decidedly in

   the direction of allowing writs of execution for the purpose of compelling the involuntary

   transfer of intellectual property.2 See, e.g., Sanders v. Armour Fertilizer Works, 292 U.S. 190,

   190 (1934) (holding that creditors may garnish a chose in action and other intangibles);

   McClaskey v. Harbison-Walker Refractories Co., 138 F.2d 493, 493 (3d Cir. 1943) (holding that

   debtors’ intellectual property could be transferred to creditors by means of fieri facias); Platt &

   Munk Co. v. Republic Graphics, Inc., 315 F.2d 847 (2d Cir. 1963) (holding that the “first sale”

   that terminates the exclusive right of a patent or copyright holder need not be truly voluntary, but

   can be reasonably compelled by a court); Lantern Press, Inc. v. American Publishers Co., 419 F.

   Supp. 1267 (E.D.N.Y. 1976) (holding that a compulsory transfer may be considered a “lawful

   transfer” if compelled by a court); Cuban Cigar Brands, N.V. v. Tabacalera Popular Cubana,

   Inc., 2008 WL 4279641, at *5 (S.D. Fla. Sept. 16, 2008) (holding that the court could seize

   trademark rights and sell them at judicial auction to satisfy a judgment). In general, the immunity

   that was once afforded to intellectual property rights has eroded. See McClaskey, 138 F.2d at

   493; Coldren v. Am. Milling Research & Dev. Inst., 378 N.E. 2d 870, 872 (Ind. Ct. App. 1978).

   Thus, the undersigned finds the authority cited by Bennett unpersuasive.

          Skycam’s Application for Writ seeks to execute on:

             Any and all intellectual property in which Bennett claims any interest,
             including without limitation intellectual property relating to any of the
             following: (1) a 4 point aerial camera system; (2) a two point camera system
             which can turn a corner; or (3) a robotic arm camera system for basketball
             supporting multiple angles from the backboard.



   2
     Some evidence of this trend appears in the Bankruptcy Code, which although not applicable in
   this case, has made no distinction between intangible and tangible property rights since the 1978
   amendments. See The Bankruptcy Reform Act of 1978, 11 U.S.C. §§ 101-151326 (1978).
                                                    5
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   (Dkt. 440 at 2). The application defines intellectual property as:

               any and all drawings, notes, plans, designs, renderings, computer files,
               memoranda, work product, books and records, records of experiments, models,
               mock-ups, patents, patent applications, draft patent applications, or other
               written, electronic, or other physical manifestation of any kind, including all
               draft, preliminary, interim, provisional, and/or final versions of any of the
               above, containing or reflecting such intellectual property.

   Id. To the extent the items described in the application are tangible personal property, there is no

   doubt, and Bennett does not argue, that the Writ properly encompasses them as “personal

   property.” Likewise, the result is no different to the extent that the items identified in the

   application consist of intangible personal property in the form of intellectual property. For this

   reason, the undersigned recommends that the District Court find Bennett’s intellectual property

   to be the proper subject of the Writ and that it deny Bennett’s motion.

                                           Recommendation

          Based on the foregoing, the undersigned recommends that defendant’s Motion to Recall

   and to Quash Plaintiff’s Writ of Execution (Dkt. 442) be DENIED.

                                             OBJECTION

          In accordance with 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72(b)(2), a party may file

   specific written objections to this report and recommendation. Such specific written objections

   must be filed with the Clerk of the District Court for the Northern District of Oklahoma by

   November 12, 2014.

          If specific written objections are timely filed, Fed. R. Civ. P. 72(b)(3) directs the district

   judge to:

          determine de novo any part of the magistrate judge’s disposition that has been
          properly objected to. The district judge may accept, reject, or modify the
          recommended disposition; receive further evidence; or return the matter to the
          magistrate judge with instructions.



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   See also 28 U.S.C. § 636(b)(1).

          The Tenth Circuit has adopted a “firm waiver rule” which “provides that the failure to

   make timely objections to the magistrate’s findings or recommendations waives appellate review

   of factual and legal questions.” United States v. One Parcel of Real Property, 73 F.3d 1057, 1059

   (10th Cir. 1996) (quoting Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991)). Only a

   timely specific objection will preserve an issue for de novo review by the district court or for

   appellate review.

          SUBMITTED this 28th day of October, 2014.




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